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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Syed A Ali
                                                 Plaintiff,
v.                                                                 Case No.:
                                                                   1:15−cv−06178
                                                                   Honorable Sharon
                                                                   Johnson Coleman
Portfolio Recovery Associates, LLC, et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 4, 2018:


      MINUTE entry before the Honorable Sharon Johnson Coleman: On defendants'
own motion, the status hearing set for 10/26/2018 is stricken and reset to 11/13/2018 at
9:00 AM. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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